                                          X

                                          Tuesday, November 12, 2013   1:30 p.m.


                        25th
 October      2013



     /s/ Joe B. Brown




Case 2:13-cr-00001      Document 36   Filed 10/25/13   Page 1 of 6 PageID #: 67
Case 2:13-cr-00001   Document 36   Filed 10/25/13   Page 2 of 6 PageID #: 68
Case 2:13-cr-00001   Document 36   Filed 10/25/13   Page 3 of 6 PageID #: 69
Case 2:13-cr-00001   Document 36   Filed 10/25/13   Page 4 of 6 PageID #: 70
Case 2:13-cr-00001   Document 36   Filed 10/25/13   Page 5 of 6 PageID #: 71
Case 2:13-cr-00001   Document 36   Filed 10/25/13   Page 6 of 6 PageID #: 72
